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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
  UNITED STATES OF AMERICA

  v.                                                        Case No. 8:03-cr-77-T-30TBM

  HATIM NAJI FARIZ
  ____________________________________

                                                       ORDER
           This cause came on for consideration upon the Motion of Defendant Hatim Naji Fariz to
  preclude the introduction of evidence offered under Federal Rule of Evidence 404(B) (Dkt. #S-20)
  and the Government’s response thereto (Dkt. #1103). The Defendant’s motion appears to be well-
  taken, but the Government is correct in its response that it is often difficult to determine what is
  relevant before the evidence is heard. It is therefore
           ORDERED AND ADJUDGED that:
           1.        The Defendant’s Motion (Dkt. #S-20) is DENIED without prejudice to raise it again
  during trial.
           2.        The Government is directed to not mention the information described in the
  Defendant’s Motion (Dkt. #S-20) in its opening statement or its case in chief without prior
  permission from the Court.
           DONE and ORDERED in Tampa, Florida on May 24, 2005.




  Copies furnished to:
  Counsel/Parties of Record

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